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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

HEATHER KETTEN                       )
                                     )
                  Plaintiff,         )
                                     )
            v.                       )                Case No. 1:21-cv-02437-RMM
                                     )
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                  Defendant.         )
____________________________________ )

                      PLAINTIFF’S OPPOSITION TO DEFENDANT
                   DISTRICT OF COLUMBIA’S MOTION TO DISMISS

       Plaintiff hereby opposes the Defendant District of Columbia’s Motion to Dismiss. In

support of this Opposition, Plaintiff relies on the following Memorandum of Points and

Authorities set out below.

I.     FACTUAL BACKGROUND

       This case arises out of an incident that occurred on November 28, 2018, when Ms.

Heather Ketten, a tourist from Austin, Texas, fell on a section of sidewalk that was in disrepair

near the National Mall at the southeast corner of the intersection of 7th Street, NW and Madison

Drive, NW. As a result of the fall, Ms. Ketten fractured her left foot and has undergone two

surgeries. While the Defendant District of Columbia has filed a motion to dismiss Ms. Ketten’s

lawsuit, claiming that the statute of limitations ran before she filed an Amended Complaint

against it on April 21, 2022, the Defendant’s Motion should be denied because (1) in accordance

with the Covid-19 Emergency Tolling Orders issued by the Chief Judge of the Superior Court of

the District of Columbia the statute of limitations has not expired; and (2) having affirmatively
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induced the Plaintiff to delay filing suit against it, and likely misrepresenting crucial statements

of fact in doing so, the Defendant District of Columbia should be estopped from asserting the

defense of the statute of limitations.

       A.      Tolling for the Covid-19 Pandemic

       While the Plaintiff’s injury occurred on November 28, 2018, the usual three-year statute

of limitations for the Plaintiff’s claim against the District of Columbia is subject to the Covid-19

tolling orders issued by the Chief Judge of the Superior Court of the District of Columbia. These

orders suspended the running of the statute of limitations for state law negligence claims from

March 18, 2020 through March 30, 2021, so that cases arising before March 18, 2020, had the

statute of limitations tolled for 377 days. As the Plaintiff’s claim arose on November 28, 2018,

her deadline for filing a lawsuit was extended by 377 days until December 10, 2022, such that

the filing of her Amended Complaint on April 21, 2022 was timely.

       Turning to the specific orders that were put in place due to the Covid-19 public health

emergency, on March 18, 2020, the Chief Judge of the Superior Court for the District of

Columbia ordered “all deadlines and time limits in statutes, court rules, and standing and other

orders issued by the court. . . suspended tolled, and extended during the period of the [Covid-19]

emergency.” See Exhibit 1 (Order Denying Mot. to Dismiss, Aug. 19, 2021, J. Matini at 2

(citing Exhibit 2: Super. Ct. Chief Judge Order (Mar. 19, 2020), at 2)). In light of the Covid-19

tolling orders from the Chief Judge of the Superior Court, which applied to “all deadlines and

time limits in statutes,” the Plaintiff’s statute of limitations against the District of Columbia does

not expire until December 10, 2022. The Chief Judge’s tolling order that was in effect from

March 18, 2020 through March 30, 2021 has been widely interpreted to toll all state law claims
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which fall under the catch-all three year statute of limitations specified in D.C. Code § 12-

301(a)(8). See Exhibit 1 (Order Denying Mot. to Dismiss, Aug. 19, 2021, J. Matini at 2); Exhibit

3: Benitez v. Ingram ((2018 CA 007957), Omnibus Order, June 2, 2021, J. Park, at 2, n.1

(explaining that the period from March 8, 2020 to March 30, 2021 is excluded from the

calculation of any limitations period such that “the statute of limitations, therefore, on a

negligence claim arising out of [a] March 8, 2018 accident does not expire until March 2022”).

       B.      Equitable Estoppel

       In addition to the tolling of the statute of limitations in this case due to the Covid-19

pandemic, the Defendant should be precluded from asserting a statute of limitations defense in

this case because the District of Columbia misled Plaintiff’s counsel about its maintenance and

ownership responsibilities for the sidewalk in question despite the best efforts and due diligence

of Plaintiff’s counsel. Specifically, on January 28, 2019, two months after Plaintiff’s injury on

November 28, 2019, the undersigned hand-delivered a letter to the Defendant District of

Columbia notifying it of Plaintiff’s injury and her intention of bringing a civil claim against it.

See Exhibit 4: Letter to Defendant District of Columbia, January 28, 2019. This was an exercise

of due diligence, in accordance with D.C. Code § 12-309, which requires that any claimant with

a potential action against the District of Columbia must provide written notice of the intent to

bring a claim within six months of any injury in order to preserve the claimant’s ability to file a

lawsuit.

       On March 15, 2019, in response to the Plaintiff’s 12-309 notice, the Defendant District of

Columbia denied responsibility for the incident and reported to Plaintiff’s counsel that,


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       Our investigation indicates that the section of the roadway involved is under the
       jurisdiction of the National Park service. Please forward your claim directly to their
       attention at the address listed below:

       Department of the Interior
       National Park Service
       Tort Claims Processing
       1100 Ohio Drive, S.W.
       Washington, DC 20242
       (202) 619-7020

See Exhibit 5: Letter from District of Columbia, March 15, 2019 (emphasis added). Plaintiff’s

counsel relied upon the representation of the District of Columbia that the location of the

Plaintiff’s injury was in fact “under the jurisdiction of the National Park Service,” and thereafter

initiated the process for submitting a claim solely to the National Park Service under the Federal

Tort Claims Act, which culminated in the instant litigation.

       Once suit was filed against the federal government and discovery was underway, on

March 30, 2022, the Defendant United States of America furnished documentary evidence to the

Plaintiff asserting that the District of Columbia did, in fact, have jurisdiction over the sidewalk at

or near 7th Street, NW and Madison Street, NW. See Exhibit 6: Memo from the D.C. Office of

the Surveyor, October 2, 1991, at DOI 005-006. Specifically, the United States produced a

memorandum, prepared on District of Columbia letterhead, stating that, “[w]hile title to these

streets is assuredly in the United States of America a review of the records indicates that District

of Columbia jurisdiction prevails” as to certain portions of 7th Street, NW near the National Mall.

The document reads:




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       This October 2, 1991 memorandum, which on its face, originated with the District of

Columbia, created a significant question of fact about the accuracy of the District of Columbia’s

representation that it lacks “jurisdiction” over the stretch of sidewalk where this incident

occurred. Accordingly, Plaintiff’s counsel contacted Janice Stokes, the District of Columbia’s

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employee who had reported that its investigation concluded that the sidewalk was “under the

jurisdiction of the National Park Service,” immediately after receiving the United States’

discovery responses, and asked for any proof or records related to any purported investigation.

See Exhibit 7: Email from Plaintiff’s Counsel to Janice Stokes. Ms. Stokes did not respond to

undersigned counsel with any further evidence of the investigation nor did she provide any

support for the District’s position that the area in question was federal government property.

Having not received any substantive response from Ms. Stokes, Plaintiff filed the Amended

Complaint on April 21, 2022.

       Notably, while there appears to be a question of fact about the District of Columbia’s

jurisdiction over – and thus its responsibility toward - the area in question, we do not intend to

suggest that the federal government is not a proper party to the case. Clearly, the District of

Columbia memorandum from October 2, 1991, established that the area in question was under

the title of the federal government, and therefore the United States, as the owner of the allegedly

unsafe property, would certainly be an appropriate defendant to this premises liability case.

However, the nature of the District’s responsibility should be the subject of discovery in this

case, given that what appears to be its own memorandum recognized that D.C. jurisdiction

“prevailed” at least for some purposes. More to the point, in this motion we need not definitively

determine which entity owns and/or maintains the area in question. Rather, the issue is whether

the District made a material misrepresentation to the Plaintiff regarding its alleged lack of

jurisdiction over the area where Plaintiff fell. Therefore, as we set out more fully below, because

there is now record evidence that the District likely made an affirmative misrepresentation about

the jurisdiction of the area in question, the Defendant should be precluded from asserting a
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statute of limitations defense due to the Plaintiff’s detrimental reliance on the District of

Columbia’s misrepresentation.

       In the argument section that follows, we first address the Covid-19 Emergency Tolling

Orders before turning to the equitable estoppel discussion in more detail.

II.    ARGUMENT

       A.      Defendant’s Motion to Dismiss should be denied because Plaintiff’s statute of
               limitations does not expire until December 10, 2022, according to the Covid-19
               Emergency Tolling Orders issued by the Chief Judge of Superior Court.

       Defendant’s Motion to Dismiss should be denied because the Plaintiff’s Amended

Complaint was timely filed on April 21, 2022. While D.C. Code § 12-301(a)(8) provides that the

usual state law-statute of limitations for negligence actions is three years, the Chief Judge of the

Superior Court of the District of Columbia issued an order on March 18, 2020 which rendered

“all deadlines and time limits in statutes, court rules, and standing and other orders issued by the

court … suspended, tolled, and extended during the period of the [COID-19] emergency.” See

Exhibit 1: Berg v. Hickson (2021 CA 001977 V), Order Denying Mot. to Dismiss, J. Matini, at 2

(Aug. 19. 2021) (citing Exhibit 2: Chief Judge Order (Mar. 18, 2020), at 2)). In subsequent

orders thereafter, the Chief Judge of the Superior Court extended the tolling period through

March 30, 2021. See id. (citing Chief Judge Order (Jan. 13, 2021) at 1).

       While this case is pending in federal court, the caselaw in this jurisdiction is clear that the

state law-statute of limitations applies in this Court, including any modifications to the statute of

limitations on account of a public health emergency. See Steorts v. American Airlines, 647 F.2d

194, 197 (D.C. Cir. 1981) (holding that “a limitation on the time of suit is procedural and

governed by the law of the forum”). The Steorts Court further noted that, “the District Court
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must adhere to the same limitation period” that would apply in Superior Court. Id.

       Moreover, every District of Columbia Court that has dealt with the question presented in

the case at bar has determined that the Chief Judge of the Superior Court of the District of

Columbia had the authority to modify the statute of limitations for civil actions in the District of

Columbia, so that all statutes of limitations for ordinary negligence cases were tolled from March

18, 2020 through March 30, 2021. See Exhibit 1: Berg v. Hickson (2021 CA 001977 V), Order

Denying Mot. to Dismiss, J. Matini, at 2 (Aug. 19. 2021); Exhibit 3: Benitez v. Ingram (2018 CA

007957) Omnibus Order, J. Park, at 2, n.1, June 2, 2021. For example, in Berg v. Hickson, D.C.

Superior Court Judge Matini concluded that a plaintiff timely filed her complaint on June 11,

2021, even though the original injury occurred on April 5, 2018, more than three years before the

lawsuit. (Exhibit 1, at 1, 4.) In holding that the complaint in Berg was filed in a timely manner

according to the Covid-19 tolling orders, Judge Matini reasoned that,

       The statute of limitations as to Plaintiff’s claim in the instant case was paused during the
       [Covid-19 emergency] tolling period, meaning that the proper deadline for Plaintiff to
       being her claim can be found by adding 388 [sic] days between March 18, 2020 and
       March 30, 2021 to the Plaintiff’s original deadline of April 5, 2021. Id. at 3 (citing
       Addendum to the General Order Concerning Civil Cases (January 21, 2021) at 2).

Similarly, in Benitez v. Ingram, D. C. Superior Court Judge Park determined that, according to

the tolling orders issued by Chief Judge of the Superior Court in the face of the Covid-19

pandemic, “the statute of limitations on a negligence claim arising out of [a] March 8, 2018

accident does not expire until [377 days later in] March 2022.” Exhibit 3: Benitez v. Ingram

(2018 CA 007957), Omnibus Order, June 2, 2021, J. Park, at 2, n.1

       Here, as in Berg and Benitez, the three-year statute of limitations for the Plaintiff’s claims

against the District of Columbia under D.C. Code § 12-301(a)(8) was tolled for 377 days, the
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time period from March 18, 2020 through March 30, 2021. Therefore, because the Plaintiff’s

injury occurred on November 28, 2018, the deadline for the filing of her complaint against the

District of Columbia should be extended by 377 days until December 10, 2022. Given that the

Amended Complaint against the District of Columbia was filed on April 21, 2022, well before

the December 10, 2022 deadline, the Plaintiff’s filing was timely and the Defendant’s Motion to

Dismiss should be denied.

       Defendant’s reliance on Judge Bates’s decision in United States v. King is misplaced for

several reasons. First and foremost, comparing King to the instant case is truly like “comparing

apples and oranges” given that King was a criminal case in which the defendant was attempting

to file a petition to modify his sentence under the federal sentencing statute of 28 U.S.C. § 2255,

whereas this case concerns the effect of emergency tolling orders on a state-law statute of

limitations applying to civil litigation. See 2022 WL 679483, at 1 (D.D.C. 2022). Clearly, King

did not address whether the District of Columbia civil statute of limitations was tolled under the

specific Covid-19 Emergency Tolling Order issued by the Chief Judge of the Superior Court and,

unlike here, the lawyers for King made no attempt to suggest that there was a specific Covid-19

tolling order or other legal authority that provided a basis upon which the Court could extend the

deadline for the petition to modify the defendant’s criminal sentence. Rather, in King, the

defendant merely made vague allegations that the logistical difficulties presented by the

pandemic warranted equitable tolling of the deadline to submit his petition to modify his

sentence. Id. at 7-10. After carefully reviewing the circumstances and other caselaw interpreting

the specific federal sentencing statute at issue, Judge Bates determined that, in the absence of

direct authority that would toll the deadline, the facts in King did not warrant equitable tolling of
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the one-year federal statutory deadline to file the petition to modify a criminal sentence. Id.

       To the extent that the Defendant might argue in its Reply that the Chief Judge’s Covid-19

tolling orders should not apply to a case in federal court, this would be inaccurate. In addition to

the holding from Steorts v. American Airlines, discussed supra,1 any argument that the Covid-19

tolling orders should not apply in federal court would produce absurd and inefficient outcomes.

It would mean that, upon receiving the federal government’s discovery production and learning

of the potential involvement of the District – despite the District’s previous misrepresentations

about its jurisdiction over the sidewalk at issue – Ms. Ketten should have somehow pursued

separate lawsuits in separate courts, one in U.S. District Court against the federal government

and one in D.C. Superior Court against the District of Columbia. Such an outcome would waste

judicial resources and potentially lead to conflicting results in two cases with the same

underlying facts. For the foregoing reasons, Plaintiff requests that the Court deny the

Defendant’s Motion to Dismiss because her Amended Complaint was timely filed under the

Covid-19 Emergency Tolling Orders issued by the Chief Judge of the Superior Court.

       B.      The District of Columbia’s Motion to Dismiss should be denied because it is
               equitably estopped from asserting a statute of limitations defense in light of its
               affirmative representations to Plaintiff that it had no jurisdiction over the sidewalk
               where she fell.

       Assuming arguendo that the Court does not find that the Covid-19 tolling orders

conclusively extended the Plaintiff’s statute of limitations by 377 days, Defendant’s Motion to


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 In Steorts, the U.S. Circuit Court of Appeals for the District of Columbia determined held that
“a limitation on the time of suit is procedural and governed by the law of the forum.” 647 F.2d
194, 197 (D.C. Cir. 1981). The Steorts Court further explained that the federal District Court
“must adhere to the same limitation period” that would apply in the District of Columbia state-
court system. Id.
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Dismiss should be denied under the doctrines of equitable estoppel and “lulling.” See Jankovic

v. International Crisis Group, 494 F.3d 1080, 1086 (2007) (noting that, under District of

Columbia law, “a defendant who engages in inequitable conduct can be equitably estopped from

invoking the statute of limitations”). Here, the Defendant District of Columbia should be

estopped from asserting the statute of limitations because it represented to the Plaintiff that it had

no jurisdiction over the sidewalk where Plaintiff fell, although there is evidence that suggests the

contrary. Not only did the District of Columbia potentially misrepresent the jurisdiction of the

area in question, it further instructed the Plaintiff to pursue her claim solely against the federal

government, thereby lulling the Plaintiff into not pursuing a claim against the District of

Columbia.

       Under District of Columbia law, “a defendant cannot assert the bar of the statute of

limitations if it appears the defendant has done anything that would tend to lull the plaintiff into

inaction and thereby permit the limitation prescribed by the statute to run.” Bailey v. Greenberg,

516 A.2d 934, 937 (D.C. 1986) (citing Hornbower v. George Washington University, 31 App.

DC 64 (1908)). For the doctrines of equitable estoppel or lulling to apply, the defendant “must

have done something that amounted to an affirmative inducement to plaintiffs to delay the

litigation,” which is the case here. Id.

       Bailey v. Greenberg illustrates the type of “affirmative inducements” that can operate to

estop a defendant from asserting a statute of limitations defense. As a threshold matter, Bailey

presented a factual scenario similar to the case at bar, because it involved a trip and fall-

negligence claim which was subject to the three-year statute of limitations prescribed by D.C.

Code § 12-301(a)(8). Moreover, in Bailey, the D.C. Court of Appeals determined that the
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doctrine of equitable estoppel applied to prevent the defendant from asserting a statute of

limitations defense when the defendant-tortfeasor “affirmatively induced” the plaintiff into

inaction by providing the injured plaintiff with the incorrect identity of its insurance company.

Id. at 936. Specifically, after the plaintiff contacted the defendant about her injury and her intent

to bring a claim, the defendant reported to the plaintiff that she should present her claim to the

defendant’s insurance company, which was identified as “the Insurance Company of North

America [INA].” Id. However, three years and two days after the plaintiff’s injury, INA wrote

a letter to plaintiff’s counsel indicating that it was not the insurance company for the defendant

on the day of the injury and therefore would be rejecting the plaintiff’s claim. Id. Based on the

facts presented in Bailey, the Court of Appeals determined that, despite the lawsuit being filed

over three years after the incident, the statute of limitations did not bar the plaintiff’s claim

because the plaintiff had raised a material issue of fact as to whether, by providing the plaintiff

with incorrect information about its insurance company, the defendant affirmatively lulled the

plaintiff into not filing suit against the defendant. Id. at 940.

        Here, as in Bailey, the District of Columbia affirmatively induced the Plaintiff into not

filing suit against it by representing to the Plaintiff that the section of the sidewalk where she fell

was under the jurisdiction of the federal government – although we now know that there is

evidence to the contrary. Specifically, the District of Columbia made three separate

representations to the Plaintiff: (1) that “the District of Columbia was not doing any work in this

area”; (2) that “the section of roadway involved is under the jurisdiction of the National Park

Service”; and (3) that the Plaintiff should forward her claim “directly” to the attention of the Tort

Claims Processing office of the National Park Service. See Exhibit 5, Letter from Janice Stokes,
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D.C. Office of Risk Management, March 15, 2019. These representations conflict with the 1991

memorandum from the D.C. Office of the Surveyor that was produced by the United States

during discovery, which established that “District of Columbia jurisdiction prevailed” as to the

location in question. See Exhibit 6: Memo from the D.C. Office of the Surveyor, October 2,

1991, DOI 005-006.

          Upon receiving the documents from the United States in discovery, undersigned counsel

contacted Ms. Stokes to identify what investigation she performed to conclude that the sidewalk

near the intersection of Madison Drive NW and 7th Street NW was not under District control but

rather “under the jurisdiction of the National Park Service.” See Exhibit 7: Email to Janice

Stokes. Notably, to this day, Ms. Stokes has not responded to this inquiry with any proof of her

investigation, or with any documentary evidence to rebut the discovery produced by the United

States. In light of the instruction from the District of Columbia government’s employee that the

Plaintiff should direct her claim against the National Park Service and the District’s affirmative

representation that it did not have jurisdiction over the location in question – which has turned

out to be unlikely – the District should be estopped from asserting a statute of limitations defense

in this case. Therefore, Plaintiff respectfully requests that the District’s Motion should be

denied.

III.      CONCLUSION

          For the reasons set forth above, the Defendant’s Motion to Dismiss should be denied

because the statute of limitations did not expire before Plaintiff filed her Amended Complaint on

April 21, 2022.


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                                                      Respectfully submitted,

                                                      /s/Daniel S. Singer
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                                                      ntrombly@tromblylaw.com
                                                      Counsel for Plaintiff




                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was delivered to the Court and all counsel of
record this 14th day of June, 2022, via ECF:



                                              /s/Daniel S. Singer
                                              Daniel S. Singer




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

HEATHER KETTEN                       )
                                     )
                  Plaintiff,         )
                                     )
            v.                       )                Case No. 1:21-cv-02437-RMM
                                     )
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                  Defendant.         )
____________________________________ )

                                       PROPOSED ORDER

         Upon consideration of the Defendant District of Columbia’s Motion to Dismiss, the

 Plaintiff’s Opposition, the Reply thereto, and it appearing that good cause is lacking for the

 granting of this Motion, it is this        day of                                 , 2022, hereby,

         ORDERED, that the Defendant District of Columbia’s Motion to Dismiss be and is

 hereby DENIED.



                                       Hon. Robin M. Meriweather
                                       United States District Court for the District of Columbia



Copies to all parties via PACER




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